 8:17-cr-00127-RFR-MDN               Doc # 34    Filed: 08/14/17      Page 1 of 1 - Page ID # 65



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                       8:17CR127

       vs.
                                                                            ORDER
ROBERTO CERVANTES-ZAVALA,

                       Defendant.


       This matter is before the court on defendant's MOTION TO EXTEND TIME TO FILE
PRETRIAL MOTIONS [33]. For good cause shown, I find that the motion should be granted. The
defendant will be given an approximate 30-day extension.          Pretrial Motions shall be filed by
September 13, 2017.


       IT IS ORDERED:
       1.      Defendant's MOTION TO EXTEND TIME TO FILE PRETRIAL MOTIONS [33] is
granted. Pretrial motions shall be filed on or before September 13, 2017.
       2.      Defendant is ordered to file the affidavit required by as required by NECrimR 12.3(a)
forthwith.
       3.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between today’s date and September 13, 2017, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


       Dated this 14th day of August, 2017.

                                                       BY THE COURT:

                                                       s/ Michael D. Nelson
                                                       United States Magistrate Judge
